Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 1 of 13 Page ID
                                 #:79967
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 2 of 13 Page ID
                                 #:79968
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 3 of 13 Page ID
                                 #:79969
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 4 of 13 Page ID
                                 #:79970
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 5 of 13 Page ID
                                 #:79971
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 6 of 13 Page ID
                                 #:79972
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 7 of 13 Page ID
                                 #:79973
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 8 of 13 Page ID
                                 #:79974
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 9 of 13 Page ID
                                 #:79975
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 10 of 13 Page ID
                                  #:79976
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 11 of 13 Page ID
                                  #:79977
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 12 of 13 Page ID
                                  #:79978
Case 2:04-cv-09049-DOC-RNB Document 3833-9 Filed 05/28/08 Page 13 of 13 Page ID
                                  #:79979
